      Case 2:21-cv-00306-KJM-DB Document 28 Filed 10/14/21 Page 1 of 1


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 8                                      UNITED STATES DISTRICT COURT
 9                           FOR THE EASTERN DISTRICT OF CALIFORNIA
10

11    PAUL PATRICK JOLIVETTE,                            No. 2:21-cv-0306 KJM DB P
12                         Plaintiff,
13                 v.                                    ORDER
14    PEOPLE OF THE STATE OF
      CALIFORNIA,
15
                           Defendant.
16

17
               Plaintiff has filed a document entitled “Amended Complaint to Correct Filing to
18
     Miscellaneous for Registration of a Judgment from another District under 28 U.S.C. § 1738.”
19
     (ECF No. 27.) This action was closed on September 28, 2021. Plaintiff’s filing does not appear to
20
     be one contemplated by the Federal Rules of Civil or Appellate Procedure. Therefore, this
21
     document will be placed in the file and disregarded. Plaintiff is advised that further documents
22
     filed in this closed action will be disregarded. No orders will issue in response to future filings.
23
               IT IS SO ORDERED.
24
     Dated: October 14, 2021
25

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     DLB7
27   joli0306.58


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